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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK




    AKHMED GADZHIEVICH BILALOV,

                                 Plaintiff,        20-Civ-09153 (AT) (JW)




                     -against-


  HERMAN GREF, SBERBANK CIB USA, INC.,
  SBERBANK OF RUSSIA PJSC, and DOES 1-
  100 inclusive,

                                 Defendants.




                      PLAINTIFF AKHMED BILALOV’S
              MEMORANDUM OF LAW IN SUPPORT OF HIS EX PARTE
          EMERGENCY MOTION FOR AN ASSET FREEZE AND OTHER RELIEF




                                                   Respectfully Submitted,

                                                   /S/ Irina Shpigel
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March 8th, 2022                                    T 212-390-1913
                                                   F 646-355-0242
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       Plaintiff Akhmed Gadzhievich Bilalov (hereinafter "Mr.Bilalov" or “Plaintiff”)

respectfully submits this memorandum of law in support of his ex parte emergency motion, by

proposed order to show cause, against defendants Herman Gref, Sberbank CIB, USA, Sberbank

of Russia PJSC (collectively, "Sberbank Defendants"). Mr. Bilalov seeks an order (1) freezing the

assets that are owned by or under the control of Sberbank Defendants, (2) permitting immediate

discovery of documents from Sberbank Defendants, and (3) preventing Entity Defendants from

destroying or altering documents.

                              I.      PRELIMINARY STATEMENT



       Plaintiff brought forth the claims in the Second Amended Complaint (“SAC”) as a

direct result of Defendants’ conspiracy throughout Russia and in New York, perpetrated by the

Sberbank Defendants, aimed to defraud Mr. Bilalov of his ownership interest of Krasnaya

Polyana AO by using tactics classified as “Reiderstvo” which include coercion, fraud, money

laundering, and attempted assassination via mercury poisoning. This action is based upon, inter

alia, violations of the Racketeer Influenced and Corrupt Organizations Act ("RICO"), which

was specifically intended by Congress to eradicate organized crime on all fronts (including in

foreign and interstate commerce) and to deprive violators of their ill-gotten gains.

   On February 24, 2022 Russian forces attacked Ukraine. In response, the United States,

announced sanctions on Russia after finding that the Russian Federation’s actions were

“unjustified, unprovoked” and that the war against Ukraine is “unconscionable…in violation of

international law… and constitutes an unusually and extraordinary threat to the national security

and foreign policy of the United States”. See 31 C.F.R. 587.

   In light of these events, unless this Court orders an asset freeze on Defendants’ assets,

Defendants will not be able to satisfy of an eventual monetary judgment.



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                                 II.    STATEMENT OF FACTS

   The Second Amended Complaint alleges that the Defendants unjustifiably and through force

took Plaintiff’s shares of his company Krasnaya Polyana, and thereafter attempted to poison him

with Mercury. He escaped to the United States, under threat of bodily injury and death. SAC at

¶¶ 75- 124.

   The SAC alleges that in late Spring 2018 while Plaintiff was in New York, he contacted

Gref to negotiate a settlement of his claims regarding the unlawful taking of Krasnaya Polyana

SAC at ¶126-28. Plaintiff further alleges, that Defendant Gref threatened and intimidated

Plaintiff with bodily harm, and political retaliation through his Russian associates, to give up

his claim against Defendants SAC at ¶127, 137-142. Thereafter, the SAC alleges that when

Plaintiff continued to pursue his claims Defendants provided false, unfounded, politically

motivated accusations to Interpol, in order to prevent him from filing claims against

Defendants. SAC at ¶ 131.

   While in Miami in October 2019 Plaintiff was “wrongfully arrested based on the false

information provided by Defendants to Interpol and to the United States Department of

HomelandSecurity (“DHS”).” SAC at ¶ 144. Plaintiff filed an appeal with Interpol. SAC at

¶145. After an investigation, Interpol removed the diffusion because Plaintiff was found to be

a collateral victim of a politically and improperly motivated persecutory campaign. SAC at

¶145-47. Plaintiff further alleges that “Defendants through intermediaries, provided money or

things of value to foreign officials to obtain an Interpol red notice and/or diffusion against

Bilalov. Through their actions Defendants proximately and directly resulted Bilalov to be

detained. As a direct and proximate result of Defendants wrongful conduct asspecified above,




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Plaintiff Bilalov suffered damages to his reputation and suffered a loss of employment

opportunities. SAC at ¶179.

       This action followed. In February 24th, 2022 Russian forces invaded Ukraine. As a result

the United States implemented a series of sanctions. These sanctions targeted high-ranking Russian

officials and their families, state-owned enterprises, and Russia’s financial sector—including

sanctions on Sberbank PJSC Public Joint Stock Company Sberbank of Russia (Sberbank of Russia

PJSC). See Russian Harmful Foreign Activities Sanctions Regulations, 31 C.F.R. § 587 (March

1st, 2022); Ukraine Related Sanctions Regulations, 31 C.F.R. §589 (March 2nd, 2022).

   Russia’s egregious actions have galvanized a united response from U.S. partners around

the world. The European Union, United Kingdom, Canada, Australia, Japan, South Korea, and

Taiwan have all announced their own sanctions and export controls. As a result, more economic

sanctions against Russia, Sberbank and Herman Gref are imminent. Therefore, an asset freeze

is appropriate, particularly to prevent the dissipation or removal of funds to foreign accounts or

elsewhere, which would also thwart satisfaction of an eventual monetary judgment.


                                         III.   ARGUMENT

   A. The Standard for Ordering a Freeze Over Sberbank Defendants’ Assets and
      Accounts

   This Court's inherent equitable power to issue provisional remedies ancillary to its authority to

provide final equitable relief encompasses temporary injunctions. Mason Tenders Dist. Council

Pension Fund v. Messera, No. 95 Civ. 9341, 1997 WL 223077, at *7 n. 19 (S.D.N.Y. May 1, 1997)

(quoting Reebok Int'l, Ltd v. Marnatch Enters., Inc., 970 F.2d 552,559 (9th Cir. 1992)). Rule 65 of

the Federal Rules of Civil Procedure authorizes the Court to issue injunctions binding parties,

parties' officers, agents, servants, employees, and attorneys and any "other persons who are in



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active concert or participation with" those previously listed. See Fed. R. Civ. P. 65(d)(2). Further,

this Court "may issue all writs necessary or appropriate in aid of [its] ...   jurisdiction[   ]   and

agreeable to the usages and principles of law." See 28 U.S.C. § 1651(a); see also Matter of Vuitton

et Fils S.A., 606 F.2d 1, 3 n.5 (2d Cir. 1979).

   The applicable standards for a TRO and preliminary injunction are the same. Either form of

interim relief is appropriate upon a showing that (1) the movant will suffer irreparable harm in the

absence of such relief and (2) either a likelihood of success on the merits or "sufficiently serious

questions going to the merits to make them a fair ground for litigation and a balance of hardships

tipping decidedly toward the party requesting the preliminary relief" Christian Louboutin S.A. v.

Yves Saint Laurent Am. Holdings, Inc., 696 F.3d 206, 215 (2d Cir. 2012) (citation and quotation

marks omitted).

   In addition, (3) the "court must consider the balance of hardships between the plaintiff and

defendant," Salinger v. Colting, 607 F.3d 68, 80 (2d Cir. 2010), and (4) "ensure that the injunctive

provisions of the order do not harm the public interest," Briggs & Stratton Corp. v. Chonquing

Rato Power Co., Ltd., No. 13-cv-316, 2013 WL 3972391, *1 n.4 (N.D.N.Y. July 23, 2013). See

SEC v. Citigroup Global Mias. Inc., 673 F.3d 158, 163 n.1 (2d Cir. 2012); Golden Krust Patties,

Inc. v. Bullock, 957 F. Supp. 2d 186, 194 (E.D.N.Y. 2013).

   1. This Court Has the Authority to Issue a Seizure Order and Injunctive Relief Ex Parte.

   Rule 65 of the Federal Rules of Civil Procedure sets forth that this Court has the authority to

grant an ex parte TRO where the moving party sets forth facts that demonstrate an immediate and

irreparable injury and show good cause why notice should not be required. Fed. R. Civ. P. 65(b)(l);

see Granny Goose Foods, Inc. v. Brd Of Teamsters &Auto Truck Drivers Local No. 70, 415 U.S.

423,439 (1974) ("Ex parte temporary restraining orders are no doubt necessary in certain

circumstances").


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    This Court's Local Rule 6.l(d) requires "a clear and specific showing by affidavit of good and

sufficient reasons why a procedure other than by notice of motion is necessary, and stating whether

a previous application for similar relief has been made." L.R. 6.l(d). See Shpigel Rule 6.1(d)

Declaration.

    Courts will grant Rule 65(b) ex parte injunctive relief in two situations: (1) when notice is

impossible because plaintiff cannot identify defendants or their locations; or (2) a showing that

proceeding ex parte is the only method that will provide plaintiff with effective relief. See Matter

of Vuitton, 606 F.2d at 5; Am. Can Co. v. Manuskhani, 742 F.2d 314, 322 (7th Cir. 1984); TRO,

N Face Apparel Corp. v. Fujian Sharing Imp. & Exp. Ltd., No. 10-civ-1630, slip op. at 1-4

(S.D.N.Y. Mar. 2, 2010) (Dkt. No.15) (hereinafter "Fujian TRO"). In the case at bar as further

alleged in the Shpigel Declaration, Plaintiff has made a showing that proceeding ex parte is the

only method that will provide plaintiff with effective relief. See Shpigel Rule 6.1(d) Declaration.

    2. Ex Parte Relief is Essential

    The extraordinary circumstances of this case demonstrate that good cause exists for granting

the ex parte relief requested. Indeed, for a TRO to be effective at all, the Court must grant Plaintiffs

application ex parte. The sanctions imposed on Russia and Sberbank PJSC, will impose enormous

costs on Russia’s economy, effectively cutting it off from international capital, triggering a

currency crisis, and a potential banking crisis. Although sanctions have not been issued against

Sberbank and Herman Gref the situation is evolving, and as the fight in Ukraine continues, further

sanctions are strongly projected.

    For example, the sanctions against several banks in Russia, include cutting off the Russian

banks from SWIFT and certain transactions. See Russian Harmful Foreign Activities Sanctions

Regulations, 31 C.F.R. § 587 (March 1st, 2022); Ukraine Related Sanctions Regulations, 31 C.F.R.




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§589 (March 2nd, 2022). As of March 2, 2022 the Russian ruble had fallen more than 30 percent

against the dollar compared to before the sanctions. Reuters, Russian Rouble Hits New Lows in

Volatile Trading, (March 3rd, 2022). As of March 8th, 2022, the U.S has prohibited imports of

Russian Oil. See March 8th, 2022 Executive Order on Prohibiting Certain Imports and New

Investments with Respect to Continued Russian Federation Efforts to Undermine the Sovereignty

and Territorial Integrity of Ukraine. 31 C.F.R. §589.

        The U.S. Department of the Treasury’s Office of Foreign Assets Control (OFAC)

designated Russian government officials, members of the Russian leadership’s inner circle,

pursuant to Executive Order (E.O.) 13661. E.O. 13661 authorizes sanctions on, among others,

officials of the Russian Government and any individual or entity that is owned or controlled by,

that has acted for or on behalf of, or that has provided material or other support to, a senior Russian

government official.

        Those being designated are individual who are acting for or on behalf of or materially

assisting, sponsoring, or providing financial, material, or technological support for, or goods or

services to or in support of, a senior official of the Government of the Russian Federation.

        Here, Sbebank is partially owned by the State, and Herman Gref is a Russian politician and

businessman. In January 2018, Gref was added to the U.S. Treasury’s "Kremlin list", a list of 210

officials, politicians and businessmen believed to be close to Vladimir Putin. According to the US

Department of Treasury, the list is not a sanctions list and no restrictions are automatically imposed

on its subjects.

        A freeze on the assets that are under the control, or held in the name of, the Sberbank

Defendants, is therefore both necessary and appropriate. Without such a freeze, based upon the




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reality of the economic sanctions against Russia, it is highly likely that Bilalov would never be able

to recover a judgment against the Defendants.

        Furthermore, the Sberbank entities have already demonstrated that any notice of such an action,

would likely result in Defendants’ moving their accounts and dissipating or transferring their funds

beyond this Court’s jurisdiction. See, e.g., SEC v. Gonzalez de Castilla, 145 F. Supp. 2d 402, 420

(S.D.N.Y. 2001). De Beers Consolidated Mines, Ltd. v. United States, 325 U.S. 212, 215–16 (1945)

(holding, in antitrust action, that “sequestration of [defendants’] property is the only means of enforcing

this Court’s orders or decree against said foreign corporate defendants. The principal business of said

defendants is carried on in foreign countries and they could quickly withdraw their assets from the

United States and so prevent enforcement of any order or decree which this Court may render.”)). See

also FTC v. Affordable Media. LLC, 179 F.3d 1228, 1236 (9th Cir. 1999) (upholding district court’s

freeze where defendant’s priorconduct included “history of spiriting their commissions away to a

Cook Island trust”).

    B. Plaintiff is Likely to Succeed on the Merits of Their Claims

        Plaintiff Akhmed Bilalov has alleged ten causes of action against Defendants. Plaintiff has

alleged Civil RICO (Count I- IV), Fraud (Count V), Conspiracy to Commit Fraud (Count VI),

Unlawful Conversion (Count VII), Malicious Abuse of Process (Count VIII), Unjust Enrichment

(Count IX), Alien Actions for Torts (Count X). [ECF Dkt. 51].

    1. Sberbank and Gref are Not Immune Under the Foreign Sovereign Immunities Act

        Under the Foreign Sovereign Immunities Act (the “FSIA”), 28 U.S.C. §§ 1330, 1602–

1611, a foreign state, including its agencies and instrumentalities, is immune from jurisdiction

unless an exception set forth in the FSIA applies. 28 U.S.C. § 1604. Exceptions to the FSIA are

set forth in 28 U.S.C. §§ 1605-1607.




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      The Court has jurisdiction under the second prong of § 1605(a)(2) over acts committed

"in connection with" a commercial activity of the foreign state elsewhere, namely the tortious

acts committed in New York between May 2019 and August 2019 wherein Defendants’ used

intimidation and threats to dissuade the Plaintiff from pursuing claims against them relating

to the divestiture of Krasnaya Polyana and to further misappropriate Plaintiff’s assets and

launder the proceed and ill-gotten obtained from the divestiture.

      The exception to immunity in 28 U.S.C. § 1605(a)(3) for certain cases involving “rights

 in property taken in violation of international law” when the property is used in the United

 States     for commercial activity or owned by an agency or instrumentality engaged in

 commercial activity in the United States (the “Expropriation Exception”) is applicable in the

 case at bar. Here, the SAC establishes that the loss of Plaintiff’s ownership in Krasnaya

 Polyana was a violation of international law. Sberabank and Gref divested Plaintiff of his

 assets in Krasnaya Polyana under threat of death and torture and further made good on that

 promise by a well-documented attempt to poison Plaintiff with Mercury. RT. German Doctors

 Suspect      Poisoning    of   Former    Russian    Olympic       Official   (April   30,   2013)

 (https://www.rt.com/russia/former-official-olympics-russian-611/).

          Gref is likewise not entitled to immunity because he was acting outside the scope of his

authority. Gref has not presented any evidence of his authority to commit the predicate acts

alleged in the SAC including divestiture of property, money laundering, malicious

prosecution, and fraud, and other acts alleged by the Plaintiff.

      Gref bears the burden of proof to establish that the affirmative defense of immunity

 protects-them from his lawsuit, which he has failed to provide. See generally, Virtual

 Countries, lnc. v. Republic of South Africa, 300 F.3d 230, 241-42 (2d Cir. 2002).



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   2. New York is an Adequate Forum

   New York is an adequate forum. An adequate forum is simply one that offers a remedy for

the claim and will treat the plaintiff with a basic level of fairness. See Piper Aircraft v. Reyno,

454 U.S. 254-55(1981). According to the Department of State’s Russia Country Report on

Human Rights Practices for 2020 the Russian court system is very corrupt and Russia lacks an

independent judiciary.    See generally     2020 DOS Report on Human Rights on Russia.

Furthermore, the Report published by the Department of State indicated that like the Plaintiff,

other victims of Russia’s corrupt government experienced similar treatment, which included

poisoning (A. Navalny who was poisoned and on his return to Russia for what he assumed to

be a fair trial was detained and sentenced by a tribunal which the U.S. and E.U. condemned

and determined to be a biased and corrupt court). See 2020 DOS Report on Human Rights on

Russia, at page 48. According to the Report, “Corruption was widespread throughout the

executive branch, including within the security sector, as well as in the legislative and judicial

branches at all levels.” See 2020 DOS Report on Human Rights on Russia, at page 48.

   3. Plaintiff has Pled Civil RICO

       a. Extraterritoriality

         The mere fact that the corporate defendants are foreign entities does not immunize

 them from the reach of RICO.” See Alfadda v. Fenn, 935 F.2d 475, 479 (2d Cir. 1991). The

 defendants’ commission of predicate acts within the United States provided a basis for subject

 matter jurisdiction for the RICO claims. Id. at 480; see also Sumitomo v. Chase Manhattan

 Bank, 2000 WL 1616960, at *2 (S.D.N.Y. Oct. 30, 2000). Defendants have committed

 predicate acts which did take place in the United States including the transfer of funds in and

 out of the United States and wire communications between people in the United States,



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including mail and wire communications between Plaintiff and the head of Sberbank Bank

and his representatives while Plaintiff was located in New York. Further, Plaintiff has alleged,

that Defendants used the mails and wires in order to make a false and fraudulent report to

Interpol regarding Plaintiff. Given that the transactions at issue are alleged to be for the benefit

of a major United States corporation with its headquarters in New York, Sberbank CIB USA

there is an ample basis for the exercise of United States jurisdiction over these transactions.

Alfadda, 935 F.2d at 480 (citation omitted); Madanes v. Madanes, 981 F. Supp. 241, 251-52

(S.D.N.Y. 1997).

        b. The Sac Alleges Harm to Business or Property.

        Plaintiff has alleged a harm to business or property. Plaintiff has alleged that he is a

former Russian Olympics Official. Defendants’ actions in submitting falsified reports to

Interpol, which led to his detention and the subsequent press coverage of the incident

directly led Plaintiff to suffer a loss of business and reputation in the United States. SAC at

¶131.

         Likewise, Plaintiff suffered a domestic injury when Defendants employed threat of

force to discourage Plaintiff from pursuing his claims against them. SAC at ¶178.

         "Where a civil RICO plaintiff alleges separate schemes that harmed materially distinct

interests to property or business, each harm — that is to say, each "injury" — should be

analyzed separately." Bascunan v. Elsaca, Here Plaintiff has alleged a domestic injury.

Plaintiff has alleged violations of the CorruptPractices Act. SAC at ¶ F, pp 39 and Hobbs Act

Extortion, SAC at ¶ I, pp 42 which both occurred inthe United States.




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      c. Plaintiff has alleged a Pattern of Racketeering Activity

       Section 1961(5) of RICO provides the statutory definition of a “pattern of racketeering

activity” as requiring “at least two acts of racketeering activity . . . the last of which occurred

within ten years after the commission of a prior act of racketeering activity.” 18 U.S.C. §

1961(5). Racketeering activity, in turn, is defined as an act that violates any of the federal or

state laws enumerated in the RICO statute. 18 U.S.C. § 1961(1).

      Plaintiff pleads that between March 2013 and Defendants until October 2019 the

Defendants have committed at least nine (9) predicate acts including (1) Money Laundering

(18 U.S.C. §§1956(a)(1), 1961(1)(B)), (2) International Money Laundering (18 U.S.C. §§

1956(a)(2), 1961(1)(B)), (3) Conspiracy to Engage in Money Laundering 18 U.S.C. §§

1956(h), 1961(1)), (4) Money Laundering 18 U.S.C. §§ 1957, 1961(1)), (5) Money

Laundering of Proceeds of Offenses Against a Foreign Nation Involving a Scheme to Defraud

Foreign Banks. (18 U.S.C. § 1956(c)(7)(B)(iii), (6) Money Laundering of Proceeds of

Violations of Foreign Corrupt Practices Act. (18 U.S.C. § 1956(c)(7)(D); 18 U.S.C. §

1961(1)(B)), (7) Wire fraud and mail fraud. (18 U.S.C. §§ 1341, 1343, 1961(1)(B)), (8)

Violation of the Travel Act. (18 U.S.C. §§ 1952,1961(1)(B)), and (9) Hobbs Act Extortion

(18 U.S.C. 1951). See SAC ¶87 - ¶144.

       In the instant case, Plaintiff has pled that the Defendants are insiders, therefore Gref,

Sberbank US and Sberbank of Russia are co-conspirators and insiders. Russian Defendant

Gref is and was the CEO of Sberbank of Russia and was likewise directly involved. See the

SAC at ¶ 28. Plaintiff has alleged that he communicated and negotiated directly with Gref. At

all times he was acting both on behalf of himself and in his official capacity on behalf of




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Sberbank of Russia. See SAC at ¶¶ 30, 31. In the present case, Gref Sberbank US and

Sberbank of Russia are alleged to be an insider in an illicit enterprise.

      d.   Plaintiff Adequately Pled Mail and Wire Fraud

       When pled as RICO predicate acts, the elements of mail or wire fraud have been

identifiedas (1) a plan or scheme to defraud, (2) intent to defraud, (3) reasonable foreseeability

that the mailor wires will be used, and (4) actual use of the mail or wires to further the scheme.

See also, In Sumitomo Copper Litig., 995 F. Supp. 451, 455 (S.D.N.Y. 1998) (noting that

elements of mail fraud are more broadly defined than elements of common law fraud).

       The mailings and wire communications need not be fraudulent in and of themselves;

innocuous or “innocent” mailings and wirings are sufficient RICO predicates as long as they

further a fraudulent scheme. See Spira v. Nick, 876 F. Supp. 553, 558-59 (S.D.N.Y. 1995).

      In his SAC Plaintiff has alleged that on March 4th, 2018 provided money or things of

value to foreign officials to obtain an Interpol red notice and/or diffusion against Bilalov.

Bilalov was located in the U.S.A at the time. The red notice and/or diffusion was based on

false, unfounded, politically motivated accusations. SAC at ¶ 131. The Defendants necessarily

used the mails and wires to obtain the fraudulent red notice and/or diffusion. Firstly, through

use of money transfers, and through use of the internet and phone to communicate with

Interpol. Plaintiff further alleges that [t]he defendant intended to cause Bilalov to be detained

and deported to Russia, where Defendants would be able to use their influence to imprison

and/or execute Bilalov, similar to thecase of Magnitsky. See SAC at ¶131.

       Furthermore, Plaintiff outlines the dates and times wherein he spoke with Herman Gref

andmembers of his inner circle by telephone while Plaintiff was in New York and Defendant

HermanGref was in Russia. For example, Plaintiff alleges that on or about May 2019, when



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 Plaintiff returned from San Francisco, he called a member of the inner circle by telephone,

 during that phone call Gref through his associate, Androsov, threatened Plaintiff that if he

 pursues his claim s he is a “fool” and threatened him with a “wave of problems”. SAC at ¶135,

 138. Furthermore, the SAC alleges that in August 2019, Plaintiff again spoke to Andrasov by

 telephone to ask Defendantsnot to harm his family. SAC at ¶ 141.

       e. Association in Fact Enterprise

        Plaintiff has alleged an association-in- fact Enterprise. An association-in-fact

 enterprise may be a group of individuals, or a group of corporations, or a group that includes

 both individuals and legal entities. United States v. Philip Morris USA Inc., 566 F.3d 1095,

 1111 (D.C. Cir. 2009)

       f. The SAC Alleges a RICO Conspiracy

       Plaintiff has adequately pled a substantive RICO claim under 18 U.S.C. §§ 1962(a)-(c),

and has sufficiently pled conspiracy. Likewise, Plaintiff has sufficiently pled wrong doing by

Defendant Sberbank CIB.

        Plaintiff has pled that Defendants Sberbank and Gref laundered money through

 Sberabnk CIB. Furthermore, Plaintiff has alleged that Sberabank CIB was an insider, and was

 instrumental in the conspiracy.

   4. The Alien Tort Statute

 The Alien Tort Claims Act (“ATS”), codified at 28 U.S.C. §1350, is properly and adequately

 pled in the SAC. See SAC ¶¶225-227, in passim. The ATS confers district courts with "original

 jurisdiction of any civil action by an alien for a tort only, committed in violation of the law of

 nations or a treaty of the United States." 28 U.S.C. § 1350. A defendant may be liable for

 conduct that is "either a direct violation of the law of nations or the aiding and abetting of



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another's violation of the law of nations." Balintulo v. Ford Motor Co., 796 F.3d 160, 166 (2d

Cir. 2015); accord Licci by Licci v. Lebanese Canadian Bank, 834 F.3d 201, 213 (2d Cir.

2016).

         To state an ATS claim, a plaintiff must show:

                (1) the complaint pleads a violation of the law of nations;

                (2) the presumption against the extraterritorial application of the ATS,

         announced by the Supreme Court in Kiobel v. Royal Dutch Petroleum Co., 569 U.S.

         108, 124, 133 S.Ct. 1659, 185 L.Ed.2d 671 (2013)], does not bar the claim;

                (3) customary international law recognizes the asserted liability of a defendant; and

                (4) the theory of liability alleged by plaintiffs (i.e., aiding and abetting,

         conspiracy) is recognized by customary international law or "the law of nations."

Balintulo, 796 F.3d at 165-66 (alterations and internal quotation marks omitted) (quoting

Mastafav. Chevron Corp., 770 F.3d 170, 179 (2d Cir. 2014)).

         The unlawful taking of Plaintiff’s shares of Krasnaya Polyana through threat of death,

imprisonment and torture is a violation of the laws of nations. the SAC alleges that Russian

Defendants were integral in moving the proceeds of the Defendants’ wrongful acts to the

United States via the Troika Laundromat and subsequently Russian Defendants committed

acts constituting Hobbs Act extortion in New York. See SAC at ¶¶102-119, 184(i).

Consequently, theseactivities have a substantial effect in the United States, and these offenses

have caused direct, substantial injury to important economic and legal interests in the United

States, thus satisfying the requisite elements of the ATS.




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   5. Plaintiff’s State Law Claims

   It is well established that "in any civil action of which the district courts have original

jurisdiction, the district courts shall have supplemental jurisdiction over all other claims that

are so related to claims in the action... that they form part of the same case or controversy under

Article III." 28 U.S.C. § 1367(a). See United Mine Workers of Am. v. Gibbs, 383 U.S. 715,

725(1966). A review of the SAC indicates clearly that the non-federal claims are so related to

all of the obviously federal claims, including the civil RICO and ATS counts.

       However, even if the federal claims were dismissed, this Court would have diversity

jurisdiction, and would therefore be empowered to adjudicate the State Law Claims. As

adequately alleged in the SAC, the parties are individual citizens of diverse states (Florida,

New York, Russia). See SAC at See SAC ¶18-31. Plaintiff has adequately alleged, Fraud

(Count V), Conspiracy to Commit Fraud (Count VI), Unlawful Conversion (Count VII),

Malicious Abuse of Process (Count VIII), Unjust Enrichment (Count IX). Therefore, Plaintiff

is likely to succeed on the merits.



   C. Plaintiff Faces the Immediate Prospect of Immense and Irreparable Harm

   Regardless, in the absence of a TRO, Plaintiff does face the immediate prospect of immense

and irreparable harm. Without the interim relief requested, Defendants’ assets may be unavailable

to Plaintiff to satisfy a judgment due to the imposition of sanctions against Russia and the

Defendants herein.

   To demonstrate irreparable harm, a plaintiff must show an injury that is "actual and imminent"

and "cannot be remedied by an award of monetary damages." Shapiro v. Cadman Towers, Inc., 51

F.3d 328, 332 (2d Cir. 1995) (citation and internal quotation marks omitted).




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    An award of money damages is inadequate "where a non-movant's assets may be dissipated

before final relief can be granted, or where the non-movant threatens to remove its assets from the

court's jurisdiction, such that an award of monetary relief would be meaningless[.]" Firemen's Ins.

Co. of Newark, New Jersey v. Keating, 753 F. Supp. 1146, 1153 (S.D.N.Y. 1990) (citation omitted);

see also Itek Corp. v. First National Bank, 730 F.2d 19, 22-23 (1st Cir. 1984).

    Here, absent an order to retain assets and freeze the accounts, it is likely that the Defendants

may be either stripped of their assets as a result of sanctions, or may move assets in order to avoid

sanctions.

    Plaintiff only seeks to maintain the status quo until a determination can been made as to the

Defendants' actions.

    Similarly, the type of ex parte relief requested is necessary to prevent irreparable harm. As set

forth above, Plaintiff seeks preliminary relief to freeze the accounts of the Sberbank entities and

restrict Defendants' abilities to dispose of any assets that may properly belong to the Akhmed

Bilalov.

    Absent the injunctive relief sought, any award to Plaintiff would likely be rendered meaningless

by the dissipation of assets.



    D. The Balance of the Hardships Strongly Favors Plaintiff

    Plaintiff has established "both a likelihood of success on the merits and irreparable harm,"

and injunctive relief is necessary to protect Plaintiff against all of the harms identified above-

harms that go to the very core of the Company. WPIX, Inc. v. ivi, Inc., 691 F.3d 275, 287 (2d

Cir. 2012), cert. denied, 133 S. Ct. 1585 (2013).

    Plaintiff is likely to succeed on the merits of his claims at trial, but because the balance of

hardships in this case tips so decidedly in favor of Plaintiff, an injunction would be warranted



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even if Plaintiff merely showed "serious questions going to the merits to make them a fair

ground for litigation." Citigroup Global Mk.ts., Inc. v. VCG Special Opportunities Master

Fund, Ltd., 598 F.3d 30, 35 (2d Cir. 2010) (internal citations omitted).

    The harm to Plaintiff that will occur if the application is denied greatly outweighs the harm

to Defendants' interests. Defendants will suffer no legitimate hardship in the event this Court

issues a TRO. Given "the probable outcome of this action, this is a loss which [Defendants]

may justifiably be called upon to bear." Corning Glass Works v. Jeanette Glass Co., 308 F.

Supp. 1321, 1328 (S.D.N.Y. 1970), affd, 432 F.2d 784 (2d Cir. 1970).

    E. The Relief Requested Will Not Harm the Public Interest

           The public interest supports the relief sought here. Salinger, 607 F.3d at 80. "The 'public

interest' prong does not mean that a court must consider the public interest in deciding whether

to grant injunctive relief; rather, it means that if injunctive relief is granted, a court should

ensure that the injunctive provisions of the order do not harm the public interest." Briggs &

Stratton, 2013 WL 3972391, at *1 n.4; Regardless, for the reasons stated herein, the public

interest strongly supports injunctive relief.

           The balance of hardships therefore heavily favors the issuance of immediate injunctive

relief.

                                         IV.     CONCLUSION

    For the foregoing reasons, the Court should grant Plaintiff’s emergency motion for an

asset freeze and related relief.


Dated: New York, New York
        March 6th, 2022
                                                                      Respectfully Submitted,

                                                                      /S/ Irina Shpigel
                                                                      Irina Shpigel
                                                                      Counsel for Plaintiff
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